USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 1 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 2 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 3 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 4 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 5 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 6 of 7
USDC IN/ND case 3:18-cv-01005-JD-MGG document 5 filed 11/19/18 page 7 of 7
